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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 22-SW-263
    Five U.S. POSTAL PARCEL LOCATED AT THE                                   )
      WASHINGTON GENERAL MAIL FACILITY,                                      )
         WASHINGTON, DC UNDER RULE 41
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 SEE ATTACHMENT A

located in the                                    District of                 Columbia                 , there is now concealed (identify the
person or describe the property to be seized):
 CONTRABAND CONTROLLED DRUGS


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. SECTION 841(a)(1)               (Possession with Intent to Distribute a Controlled Substance)
        21 U.S.C. SECTION 843(b)                  (Use of a Communication Facility to Facilitate the Commission of a Federal Drug
                                                  Felony)
          The application is based on these facts:


           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                                James Ussery, Postal Inspector
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            08/17/2022
                                                                                                        Judge’s signature

City and state: District of Columbia                                                   Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                      Printed name and title
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                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-SW-263
      Five U.S. POSTAL PARCELS LOCATED AT THE                               )
         WASHINGTON GENERAL MAIL FACILITY,                                  )
           WASHINGTON, DC UNDER RULE 41                                     )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  SEE ATTACHMENT A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  CONTRABAND CONTROLLED SUBSTANCES




          YOU ARE COMMANDED to execute this warrant on or before                                 (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to          Robin M. Meriweather, U.S. Magistrate Judge        .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:
                                                                                                          Judge’s signature

City and state:                                                                        Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:22-sw-00263-RMM Document 1 Filed 08/17/22 Page 3 of 12
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 22-SW-263
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                          Attachment A




Subject     Express (E) or Priority (P)    From:                    To:
Parcel      and Tracking ID number         Name and Address         Name and Address


1.          (E) EI 431 101 124 US          Beauty Plus Supply       Remi Martinez
                                           6911 S. La Tijera Blvd   10319 Westlake Dr
                                           Los Angeles, CA 90045    Bethesda, MD 20817


2.          (E) EI 422 221 472 US          David                    Nuno
                                           5440 Tujunga Ave 1020    6413 Carrollton Court
                                           North Hollywood, CA      New Carrollton, MD
                                           91601                    20784


3.          (E) EJ 604 710 069 US          S. Freeeman              S. Freeeman
                                           305 Washington St unit   305 Washington St unit
                                           202                      202
                                           Berlin, MD 21811         Berlin, MD 21811

4.          (E) EI 320 030 910 US          US                       Jenny Wilkie
                                           576 Alvarado Rd          6233 31st St NW
                                           Stanford, CA 94305       Washington, MD 20015

5.          (E) EI 469 760 316 US          Jessie Clark             Larry Johnson
                                           555 W. Grand Ave #11     2445 Springlake Dr
                                           Oakland, CA 94620        Timonium, MD 21093
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
 FIVE U.S. POSTAL PARCELS LOCATED
 AT THE WASHINGTON GENERAL MAIL                      Case No. 22-SW-263
 FACILITY, WASHINGTON, D.C.
 UNDER RULE 41


                     AFFIDAVIT IN SUPPORT OF APPLICATION
                  FOR A SEARCH WARRANT FOR U.S. MAIL PARCEL

       Your Affiant, James Ussery, United States Postal Inspector, Washington D.C., being duly

sworn, hereby deposes and states as follows:

I.     Subject Parcel.

       1.      This is an Affidavit submitted in support of an Application for a Search Warrant

for five (5) subject U.S. Mail Parcel(s), hereinafter “Subject Parcel(s),” or “SP.”   These Subject

Parcels are currently located at the Washington General Mail Facility, in Washington, D.C., 20066.

These Subject Parcels are specifically identified as follows:

Subject     Express (E) or Priority (P)     From:                        To:
Parcel      Retail Ground (RG) and          Name and Address             Name and Address
            Tracking ID number

1.          (E) EI 431 101 124 US           Beauty Plus Supply           Remi Martinez
                                            6911 S. La Tijera Blvd       10319 Westlake Dr
                                            Los Angeles, CA 90045        Bethesda, MD 20817


2.          (E) EI 422 221 472 US           David                        Nuno
                                            5440 Tujunga Ave 1020        6413 Carrollton Court
                                            North Hollywood, CA          New Carrollton, MD
                                            91601                        20784




                                                 1
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3.          (E) EJ 604 710 069 US           S. Freeeman                 S. Freeeman
                                            305 Washington St unit      305 Washington St unit
                                            202                         202
                                            Berlin, MD 21811            Berlin, MD 21811
4.          (E) EI 320 030 910 US           US                          Jenny Wilkie
                                            576 Alvarado Rd             6233 31st St NW
                                            Stanford, CA 94305          Washington, MD 20015
5.          (E) EI 469 760 316 US           Jessie Clark                Larry Johnson
                                            555 W. Grand Ave #11        2445 Springlake Dr
                                            Oakland, CA 94620           Timonium, MD 21093



II.    Affiant’s Training and Experience.

       2.      Your Affiant, James Ussery, has been a United States Postal Inspector since July

2014 and has completed 12 weeks of basic investigative training in Potomac, Maryland, which

included various aspects of federal law enforcement including the investigation of narcotics-

related offenses. Prior to being a United States Postal Inspector, your Affiant was a Federal Air

Marshal for the Federal Air Marshal Service for 5 years, between 2010 and 2014. Prior to being a

Federal Air Marshal, your Affiant was a Police Officer with the city of Atlanta between 2006 and

2010. Your affiant has participated in investigations involving possession with intent to distribute

and distribution of controlled substances. Your affiant has participated in interdictions, control

deliveries, seizures, and search warrants which resulted in criminal arrest and prosecution. As a

result of your Affiant’s training and experience, your Affiant is aware that Priority Mail Express

and Priority Mail services are regularly used by narcotic traffickers to ship controlled substances

and bulk cash through the U.S. Mail.

       3.       Based upon my training and experience in the field of narcotic interdiction through

the mails, I know that there are suspicious characteristics common to many packages that contain

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narcotics, controlled substances or the proceeds thereof (i.e., U.S. currency). These factors, more

fully detailed below, are used to identify packages requiring further investigation. In the case of

this search warrant, several of these factors were identified for the five (5) packages, and the

package was alerted to by the drug detection canine. The most common factors or suspicious

characteristics routinely observed in the course of screening packages are as follows:

             a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the U.S. Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel online by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug

packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your affiant’s experience, it is fairly

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easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and

Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use Priority Mail

Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the mail,

the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. Your affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a

search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents.    Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Nevada, Georgia, Washington, Colorado, Puerto Rico

and Florida (among others, including countries such as China, Netherlands, and various African

nations) can also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

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emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The U.S. Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”

states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

       4.      It is your affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

       5.      The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

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personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents of the government. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant, and does not set forth all of my knowledge about this

matter.

III.      Probable Cause.

          6.    The following factors or suspicious characteristics are present in the Subject

Parcels:

 Subject     From           Weight:        Label:         Senders       Recipients Canine Alert?
 Parcel      Source                                       name          name
 Express,    State:                                       associated    associated
 Retail                                                   with          with
 Ground                                                   address?      address?
 or Priority                                              Yes / No      Yes / No
                                                              Yes
 1.Express     Yes – CA       13.2 ozs     Handwritten                      No             Max

 2.Express     Yes – CA     2 lbs 11 ozs Handwritten          NO            No             Max
 3.Express     Yes – CA      2 lbs 9 ozs   Handwritten        NO            No             Max
 4.Express     Yes – CA         7 ozs      Handwritten         No           No             Max
 5.Express     Yes – CA      2 lbs 3 ozs   Handwritten         No           No             Max




          7.    The suspicious characteristics listed above were identified while the Subject Parcels

were in the mail stream on August 12, 2022 and your the affiant removed all the Subject parcels

from the mail stream. The affiant made use of law enforcement and other databases to make

determinations about associations between senders/recipients and the addresses listed on the

parcels and law enforcement used standard protocol for canine detection to determine whether


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there was probable cause that the Subject Parcel contained narcotics. On August 15, 2022, Subject

Parcels were individually placed in a secure area next to several other empty and unused boxes at

the Washington General Mail Facility. At that time, narcotic detection canine “Max” 1 was brought

forward to scan the group of boxes, which included the individual Subject Parcels and the empty

and unused boxes placed around the Subject Parcels. This process was repeated for each and every

Subject Parcel listed above. As indicated in the chart, the drug detection dog alerted to the presence

of narcotics in the Subject Parcel each time for each individual Subject Parcel.

VI.    Conclusion.

       8.      Your affiant submits that based upon the above indicators reflected in the five (5)

parcels described herein, based upon my training and experience, and based upon the alert of

trained canine on the package, I believe there is probable cause that the above-described Subject

Parcels contains narcotics or controlled substances, and thereby constitute evidence of, and

contraband related to, the possession with intent to distribute controlled substances in violation of

21 U.S.C. Section 841(a)(1), and the use of a communication facility to facilitate the commission

of a federal drug felony in violation of 21 U.S.C. Section 843(b).


                                               ________________________
                                               James Ussery
                                               United States Postal Inspector




         1
               “Max” was most recently certified in August 2022 to alert on odors of marijuana
(THC), cocaine, “crack” cocaine, heroin, ecstasy (MDMA), and methamphetamine, and is trained
to ensure his accuracy. Detective Vincent Witkowski, of Metropolitan Police Department, is the
handler for ‘Max.”


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Subscribed and sworn to before me this 17th day of August 2022.


                                           ________________________________
                                           The Honorable Robin M. Meriweather
                                           United States Magistrate Judge




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